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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF INDIANA
                              HAMMOND DIVISION

UNITED STATES OF AMERICA                  )
                                          )
                v.                        )      No. 2:15 CR 149
                                          )
GREGORY JOSHUA SMITH                      )

                                 OPINION and ORDER

        Petitioner Gregory Smith has filed a motion to vacate his sentence under 28

U.S.C. § 2255. (DE # 225.) For the reasons that follow, petitioner’s motion is denied.

I.      BACKGROUND

        A superseding indictment charged Smith with 20 counts related to a string of

armed robberies he committed or attempted to commit. (DE # 122.) Smith pleaded

guilty to four Hobbs Act robberies, in violation of 18 U.S.C. § 1951 (Counts 1, 7, 10, 19);

three attempted Hobbs Act robberies, in violation of § 1951 (Counts 4, 13, 16);

discharging a firearm during an attempted Hobbs Act robbery, in violation of 18 U.S.C.

§ 924(c) (Count 14); and brandishing a firearm during an attempted Hobbs Act robbery,

in violation of § 924(c) (Count 17.) (DE # 148.) Smith agreed that the attempted Hobbs

Act robberies were “crimes of violence” for purposes of § 924(c). (Id.)

        In his plea agreement, Smith also agreed to waive his right to appeal or contest

his conviction and all components of his sentence or the manner in which his conviction

or sentence was determined or imposed, to any court on any ground other than a claim

of ineffective assistance of counsel, including any post-conviction proceeding under

§ 2255. (Id. at 5.)
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       In February 2021, this court sentenced Smith to 314 months’ imprisonment.

(DE # 213.) Smith did not appeal.

       In June 2022, the Supreme Court held in United States v. Taylor, 142 S. Ct. 2015,

2020-21 (2022), that an attempted Hobbs Act robbery was not a “crime of violence” for

purposes of § 924(c) because it did not have as an element the “use, attempted use, or

threatened use of physical force” against the person or property of another. Id. (citing

§ 924(c)).

       Less than one year after Taylor, in March 2023, Smith filed the present motion to

vacate. (DE # 225.) Smith presents three grounds on which he believes his conviction

and sentence should be vacated: (1) after Taylor, his convictions on Counts 14 and 17 for

violations of § 924(c) are invalid; (2) his attorney was ineffective in negotiating his plea

agreement because his counsel failed to secure him a plea deal similar to those of his co-

defendants; and (3) his attorney was ineffective in failing to argue that his convictions

under § 1951(a) could not serve as predicate offenses for a § 924(c) conviction. (Id.)

II.    LEGAL STANDARD

       A § 2255 motion allows a person in federal custody to attack his or her sentence

on constitutional grounds, because it is otherwise illegal, or because the court that

imposed it was without jurisdiction. 28 U.S.C. § 2255(a). Motions to vacate a conviction

or correct a sentence ask a court to grant an extraordinary remedy to a person who has

already had an opportunity for full process. Kafo v. United States, 467 F.3d 1063, 1068

(7th Cir. 2006).


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III.   DISCUSSION

       A.     Timeliness Of Claims

       The government contends that, while Smith’s Taylor argument is timely, his other

two claims are not, and must be dismissed. (DE # 235.) A one year limitations period

applies to motions made pursuant to § 2255. 28 U.S.C. § 2255(f). The limitations period

runs from the latest of the following events:

       (1) the date on which the judgment of conviction becomes final;

       (2) the date on which the impediment to making a motion created by
       governmental action in violation of the Constitution or laws of the United
       States is removed, if the movant was prevented from making a motion by
       such governmental action;

       (3) the date on which the right asserted was initially recognized by the
       Supreme Court, if that right has been newly recognized by the Supreme
       Court and made retroactively applicable to cases on collateral review; or

       (4) the date on which the facts supporting the claim or claims presented
       could have been discovered through the exercise of due diligence.

Id.

       “[T]he timeliness of each claim asserted in [] a section 2255 motion . . . must be

considered independently.” Davis v. United States, 817 F.3d 319, 328 (7th Cir. 2016).

“The simple fact that [the petitioner] might have one timely claim to make under

section 2255 based on a Supreme Court precedent issued years after his conviction

otherwise became final does not allow him to tack on additional, otherwise untimely

claims to that one timely claim.” Id.

       To begin, the Government concedes that Count I is timely pursuant to


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§ 2255(f)(3). Section 2255(f)(3) applies to rights newly recognized by the Supreme Court

that have been made retroactively applicable to cases on collateral review. While Taylor

has not been held retroactively applicable, the Government concedes that Taylor can be

applied retroactively on collateral review. (DE # 235 at 8.) Section 2255’s statute of

limitations defense is not jurisdictional and can be waived. See Stanley v. United States,

827 F.3d 562, 565 (7th Cir. 2016); Boulb v. United States, 818 F.3d 334, 339 (7th Cir. 2016);

Ryan v. United States, 688 F.3d 845, 847 (7th Cir. 2012). The court finds that the

Government has done so here, with respect to Ground I. The court must then consider

the timeliness of Grounds II and III.

       In this case, judgment was entered on February 24, 2021, and Smith did not file

any appeal. Accordingly, his judgment became final in March 2021, 14 days after

judgment was entered. See Fed. R. App. P. 4(b)(1)(A)(i) (appeal in criminal case must be

filed within 14 days of judgment). To have filed a timely petition pursuant to

§ 2255(f)(1), he would have had to have filed his petition by March 2022. See e.g. United

States v. Ellis, No. 2:14-CR-33, 2023 WL 3884667, at *2 (N.D. Ind. June 8, 2023). He did

not meet that deadline. Accordingly, Grounds II and III of Smith’s motion to vacate are

not timely under § 2255(f)(1).

       Smith does not argue that any unlawful governmental impediment prevented

him from filing a timely motion on Grounds II and III, nor does he argue there are

newly discovered facts. Thus, neither § 2255(f)(2) nor (4) apply.

       Smith appears to argue that his entire motion is timely pursuant to § 2255(f)(3).


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While his Taylor claim in Ground I is timely pursuant to § 2255(f)(3), Smith cannot

piggyback untimely claims onto a timely one. See Davis, 817 F.3d at 328.

       In Ground II, Smith argues that his counsel should have attempted to secure him

a plea deal similar to those of his co-defendants, both of whom received lower sentences

than Smith. Smith’s co-defendants were both sentenced in July of 2020, well before he

was sentenced. This ground was available to Smith at the time his judgment became

final and his failure to pursue the claim within the limitations period means that this

ground is now time-barred.

       In Ground III, Smith claims that his counsel was ineffective because counsel

should have argued, based on United States v. Davis, 139 S. Ct. 2319 (2019), that the

attempted Hobbs Act robberies could not serve as predicate offenses for the § 924(c)

charges. (DE # 225 at 8.) In Davis, the Supreme Court held that § 924(c)(3)(B)’s residual

clause was unconstitutionally vague. Davis, 139 S. Ct. at 2324. Smith claims that he

questioned his attorney about the application of Davis before signing the plea

agreement. He also claims that, if his counsel had done his due diligence, he would

have learned that Taylor was making its way to the Supreme Court, and he would have

counseled Smith against signing a plea agreement that included Counts 14 and 17.

       First, Smith is incorrect that Taylor was already making its way to the Supreme

Court at the time he signed his plea agreement. Smith’s plea agreement was filed on

December 9, 2019. (DE # 148.) His plea agreement was accepted on December 11, 2019.

(DE # 155.) Taylor was decided on June 21, 2022, and the underlying Fourth Circuit


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order (holding that attempted Hobbs Act robbery was not a crime of violence under

§ 924(c)(3)(B)) was issued on October 14, 2020. United States v. Taylor, 979 F.3d 203 (4th

Cir. 2020), aff’d, 142 S. Ct. 2015 (2022). While the underlying district court case was

decided before Smith entered into his plea agreement, the district court had rejected the

argument that attempted Hobbs Act robbery was not a crime of violence under

§ 924(c)(3)(B). United States v. Taylor, No. 3:08CR326, 2019 WL 4018340, at *4 (E.D. Va.

Aug. 26, 2019).

       Second, Smith’s claim that the Supreme Court’s issuance of Taylor renders

Ground III timely, under § 2255(f)(3), is self-defeating. His argument is both that his

attorney should have known, based on Davis, that attempted Hobbs Act robbery does

not constitute a crime of violence under § 924(c), but also that Smith could not have

asserted this same argument until Taylor was issued. He cannot have it both ways.

       Smith admits that he raised the issue of Davis’ application with his counsel prior

to entering into the plea agreement. If he believed that he had an argument stemming

from Davis that his counsel failed to pursue, he could have filed a motion to vacate

based on ineffective assistance within one year of his sentence becoming final. He did

not do so, and therefore this claim is time-barred. However, even if Ground III was

timely, it fails on the merits, as discussed in a later section.1


       1
        As discussed later in this opinion, this court does not agree that the Supreme
Court’s holding in Taylor was foreseeable, such that an effective attorney should have
raised the issue. However, to the extent that Smith disagrees, and believes that Davis
created the building blocks for such an argument, Smith has admitted that he had
enough information to make this claim within the limitations period in § 2255(f)(1).

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       B.     Actual Innocence Exception To Time-Barred Claims Does Not Apply

       Smith argues, in his reply brief, that he is actually innocent of the § 924(c)

convictions, in light of Taylor. (DE # 241 at 4.) This argument was not raised in his initial

petition, and therefore need not be addressed by this court. See Lund v. United States, 913

F.3d 665, 669 n.4 (7th Cir. 2019) (citing United States v. Wescott, 576 F.3d 347, 354 (7th Cir.

2009)). However, the court finds that even if Smith had appropriately raised an actual

innocence claim, it would not rescue his time-barred claims.

       “[A]ctual innocence, if proved, serves as a gateway through which a petitioner

may pass whether the impediment is a procedural bar . . . or . . . expiration of the statute

of limitations.” McQuiggin v. Perkins, 569 U.S. 383, 386 (2013). To establish actual

innocence, “a petitioner must show that it is more likely than not that no reasonable

juror would have found petitioner guilty beyond a reasonable doubt.” Schlup v. Delo,

513 U.S. 298, 327 (1995).

       The Seventh Circuit has never explicitly held that the actual innocence exception

can be used in situations where a subsequent change to a law renders the conduct for

which the petitioner was convicted no longer criminal. Lund, 913 F.3d at 667–68

(declining to decide the issue). However, as Lund makes clear, even if actual innocence

could be predicated on a case interpreting the law under which a petitioner was

convicted, it would not extend to this case.

       In Lund, the Seventh Circuit rejected the petitioner’s attempt to use a case

interpreting the law under which he was convicted as both the basis for his actual


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innocence claim and his claim for relief on the merits. The Court found it “doubtful”

that “a petitioner’s actual innocence claim and claim for relief on the merits can be the

same.” Lund, 913 F.3d at 668 (internal citation omitted). Allowing a change in statutory

law to do “double duty” “would completely undermine the statute of limitations for

bringing initial § 2255 motions within one year from the date a new right is recognized

by the Supreme Court.” Id. Moreover, there is no free-standing right to habeas relief

based on a claim of actual innocence. Id. Rather, the exception exists to ensure federal

constitutional errors do not result in the imprisonment of innocent people. Id. Thus, the

justification for an actual innocence exception “suggests that the underlying claim must

be a constitutional claim, rather than a statutory claim[.]” Id.

       Allowing Smith to use Taylor to serve as the basis for both his actual innocence

and habeas relief “would render [the § 2255(f)(3)] statute of limitations superfluous, at

least as it applies to newly recognized statutory rights. Every time there is a retroactive

interpretation of a criminal law, petitioners convicted under it would have an initial §

2255 claim based on the new interpretation indefinitely.” Id. at 669. Accordingly, Smith

cannot use the actual innocence exception to rescue his time-barred claims.

       C.     Ground III Fails On The Merits

       As noted above, even if Ground III of Smith’s motion were timely, it would fail

on the merits because he has not established that his counsel’s failure to object to

Counts 14 and 17 amounted to ineffective assistance. Smith’s argument is that, based on

Davis, his attorney should have foreseen the Supreme Court’s holding in Taylor, and


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argued that attempted Hobbs Act robbery is not a crime of violence under § 924(c).

       Claims for ineffective assistance of counsel are analyzed under Strickland v.

Washington, 466 U.S. 668 (1984). Under Strickland, “a defendant claiming ineffective

counsel must show that counsel’s actions were not supported by a reasonable strategy

and that the error was prejudicial.” Massaro v. United States, 538 U.S. 500, 505 (2003).

       “To satisfy the deficient performance prong, a petitioner must show that the

representation his attorney provided fell below an objective standard of

reasonableness.” Vinyard v. United States, 804 F.3d 1218, 1225 (7th Cir. 2015). “A court’s

scrutiny of an attorney’s performance is ‘highly deferential’ to eliminate as much as

possible the distorting effects of hindsight, and we ‘must indulge a strong presumption

that counsel’s conduct falls within the wide range of reasonable professional

assistance.’” Id. (internal citation omitted). “The challenger’s burden is to show ‘that

counsel made errors so serious that counsel was not functioning as the ‘counsel’

guaranteed the defendant by the Sixth Amendment.’” Harrington v. Richter, 562 U.S. 86,

104 (2011) (internal citation omitted).

       To satisfy the prejudice prong, a petitioner must establish that “‘there is a

reasonable probability that, but for counsel’s unprofessional errors, the result of the

proceeding would have been different.’” Strickland, 466 U.S. at 694. “This does not mean

that the defendant must show that counsel’s deficient conduct more likely than not

altered the outcome in the case. Rather, a reasonable probability is a probability

sufficient to undermine confidence in the outcome, which in turn means a substantial,


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 not just conceivable likelihood of a different result.” Harris v. Thompson, 698 F.3d 609,

 644 (7th Cir. 2012) (internal citations and quotation marks omitted).

        “[T]he two-part Strickland v. Washington test applies to challenges to guilty pleas

 based on ineffective assistance of counsel.” Hill v. Lockhart, 474 U.S. 52, 58 (1985). The

 performance prong is the same as that outlined in Strickland. Id. To establish prejudice

 in a case where the petitioner pleaded guilty, “the defendant must show that there is a

 reasonable probability that, but for counsel’s errors, he would not have pleaded guilty

 and would have insisted on going to trial.” Id. at 59; see also Morales v. Boatwright, 580

 F.3d 653, 663 (7th Cir. 2009). “[T]he petitioner must do more than simply allege ‘that he

 would have insisted on going to trial’; he must also come forward with objective

 evidence that he would not have pled guilty. Objective evidence includes the nature of

 the misinformation provided by the attorney to the petitioner and the history of plea

 negotiations.” Hutchings v. United States, 618 F.3d 693, 697 (7th Cir. 2010) (internal

 citation omitted).

        A petitioner’s “failure to establish either element of the Strickland framework will

 result in denial of his claim.” Daniels v. Knight, 476 F.3d 426, 434 (7th Cir. 2007). If a

 petitioner fails to make a proper showing under one of the Strickland prongs, the court

 need not consider the other. See Strickland, 466 U.S. at 697.

        Here, Smith argues that his counsel was ineffective for lack of foresight. While an

 attorney is not required to anticipate every change in the law, Kirklin v. United States,

 883 F.3d 993, 997 (7th Cir. 2018), he can be required to make, or at least evaluate


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 whether to make, an argument that is sufficiently foreshadowed by precedent existing

 at that time. Bridges v. United States, 991 F.3d 793, 804 (7th Cir. 2021). In situations where

 “the building blocks for a successful legal argument were already in place,” effective

 counsel would have considered the question, and whether to present an argument. Id.

 at 797–98. However, “a failure to argue a point of unsettled law, not foreshadowed by

 existing case law, is not enough by itself to demonstrate deficient performance.” Scott v.

 Hepp, 62 F.4th 343, 348 (7th Cir. 2023) (cleaned up).

        As discussed above, at the time Smith entered into his plea agreement, Taylor had

 not yet been decided by the Supreme Court or the Fourth Circuit. Smith argues that

 Davis should have put his counsel on notice to make the argument that attempted

 Hobbs Act robbery is not a crime of violence under § 924(c). However, at the time Smith

 entered into his plea agreement, not a single appellate court had ruled that attempted

 Hobbs Act robbery was not a crime of violence under § 924(c), and one appellate court

 had ruled that it was a crime of violence under § 924(c). See Kimbrough v. United States,

 71 F.4th 468, 472 (6th Cir. 2023) (citing United States v. St. Hubert, 883 F.3d 1319, 1333

 (11th Cir. 2018), superseded by 909 F.3d 335 (11th Cir. 2018)). Less than a month after his

 plea was filed and accepted, the Seventh Circuit held that a defendant’s conviction for

 attempted Hobbs Act robbery could serve as a predicate offense for a § 924(c)

 conviction. United States v. Ingram, 947 F.3d 1021, 1026 (7th Cir. 2020). Other appellate

 courts later held the same. See e.g., United States v. Dominguez, 954 F.3d 1251, 1255 (9th

 Cir. 2020); United States v. Smith, 957 F.3d 590, 596 (5th Cir. 2020); United States v. Walker,


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 990 F.3d 316, 330 (3d Cir. 2021). Not until October 2020, nearly a year after Smith

 pleaded guilty, did a single circuit embrace his approach. See United States v. Taylor, 979

 F.3d 203, 205 (4th Cir. 2020). The Supreme Court did not grant certiorari in Taylor until

 after he was sentenced.

        In light of this history, counsel was not ineffective for failing to raise an

 argument that attempted Hobbs Act robbery was not a crime of violence under § 924(c).

 The building blocks for the eventual holding in Taylor simply did not exist at the time

 Smith entered into his plea agreement. See Kimbrough, 71 F.4th at 472 (holding that, at

 time defendant pleaded guilty, existing precedent did not clearly foreshadow Taylor;

 “the Sixth Amendment guarantees a competent attorney, not a clairvoyant one.”) Even

 if counsel had made the argument, it was almost certain to be unsuccessful, given the

 Seventh Circuit’s subsequent holding in Ingram. Accordingly, even if Ground III was

 timely, it would fail on the merits because Smith has failed to establish that his counsel’s

 performance was ineffective.

        D.     Ground I Is Barred By Appeal Waiver

        In his appeal waiver, Smith explicitly waived his right to file a § 2255 motion

 challenging his sentence, on any ground other than a claim of ineffective assistance of

 counsel. That waiver bars his present claim that his convictions on Counts 14 and 17 are

 invalid post-Taylor.

        Smith’s only argument against the application of his appeal waiver is that his

 waiver was not knowing and voluntary. His argument appears to be that – because he


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 did not know that the Supreme Court would subsequently hold that attempted Hobbs

 Act robbery is not a crime of violence under § 924(c) – he did not have a proper

 understanding of the law in relation to the facts in his case. (DE # 241 at 5.) While a

 defendant must knowingly and voluntarily agree to an appeal waiver, see United States

 v. Perillo, 897 F.3d 878, 883 (7th Cir. 2018), reh’g denied (Aug. 20, 2018), the Seventh

 Circuit has “ ‘consistently rejected arguments that an [express] appeal waiver is invalid

 because the defendant did not anticipate subsequent legal developments.’ ” Oliver v.

 United States, 951 F.3d 841, 845 (7th Cir. 2020) (quoting United States v. McGraw, 571 F.3d

 624, 631 (7th Cir. 2009)); see also Grzegorczyk v. United States, 142 S. Ct. 2580 (2022)

 (Kavanaugh, J., statement respecting denial of certiorari, “[T]he Seventh Circuit

 correctly concluded that the defendant’s unconditional guilty plea precluded any

 argument based on the new caselaw[.]”). Taylor does not provide an avenue around

 Smith’s appeal waiver. As Smith makes no other argument regarding the validity of his

 appeal waiver, his appeal waiver bars Ground I.

        E.     Discovery Request

        Smith moved this court to order his attorney to turn over the entire case file so

 Smith could prepare his motion to vacate. (DE # 234.) Essentially, he appears to seek

 leave of court to conduct discovery under Rule 6(a) of the Rules Governing Section 2255

 Proceedings for the United States District Courts.

        A § 2255 petitioner is not permitted the same “broad discovery” available in

 ordinary civil litigation and is not entitled to discovery as a matter of course. Bracy v.


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 Gramley, 520 U.S. 899, 904 (1997). Instead, “[a] judge may, for good cause, authorize a

 party to conduct discovery under the Federal Rules of Criminal Procedure or Civil

 Procedure, or in accordance with the practices and principles of law.” R. Gov. Sec. 2255

 Proc. 6(a). Further, “[a] party requesting discovery must provide reasons for the

 request . . . and must specify any requested documents.” R. Gov. Sec. 2255 Proc. 6(b).

 Good cause will be found where “specific allegations before the court show reason to

 believe that the petitioner may, if the facts are fully developed, be able to demonstrate

 that he is . . . entitled to relief.” Bracy, 520 U.S. at 908-09.

        Smith’s vague demand for his entire file failed to show good cause. He failed to

 explain what he hoped to find and how such evidence might support a constitutional

 claim, particularly where his claims are based on a change in law, not on events that

 transpired during his case.

        F.      No Hearing Necessary

        Smith has requested an evidentiary hearing on his motion to vacate. (DE # 225.)

 “The court should grant an evidentiary hearing on a § 2255 motion when the petitioner

 ‘alleges facts that, if proven, would entitle him to relief.’ ” Sandoval v. United States, 574

 F.3d 847, 850 (7th Cir. 2009) (internal citations omitted). However, where a petitioner

 has failed to present facts necessary to substantiate his claim, he cannot meet the

 threshold requirement for entitlement to an evidentiary hearing, and a district court

 may properly deny such a motion. Fuller v. United States, 398 F.3d 644, 652 (7th Cir.

 2005). Smith has not presented facts that, if proven, would entitle him to relief. Thus, he


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 is not entitled to an evidentiary hearing.

        G.     Appointment Of Counsel Unnecessary

        The court denies Smith’s motion for appointed counsel. (DE # 227.) “Prisoners do

 not have a constitutional right to the assistance of counsel in post-conviction collateral

 attacks.” Socha v. Boughton, 763 F.3d 674, 685 (7th Cir. 2014); see also Pennsylvania v.

 Finley, 481 U.S. 551, 555 (1987); Powell v. Davis, 415 F.3d 722, 727 (7th Cir. 2005).

 Furthermore, because Smith’s case does not involve the death penalty, he has no

 statutory right to appointed counsel. However, a district court may appoint counsel if

 “the interests of justice so require[.]” 18 U.S.C. § 3006A(a)(2)(B). The court is also

 authorized to appoint counsel if an evidentiary hearing is warranted, R. Gov. Sec. 2255

 Pro. 8(c), or if counsel is necessary for effective discovery, R. Gov. Sec. 2255 Pro. 6(a).

        The court finds that, in this case, the interests of justice do not require the

 appointment of counsel. Smith’s claims in his motion are straightforward. Moreover, his

 filings demonstrate that he was able to represent his interests and advocate for his

 motion to vacate without the appointment of counsel.

        H.     Certificate Of Appealability

        Pursuant to § 2255 Habeas Corpus Rule 11, the court must consider whether to

 grant or deny a certificate of appealability. A court should issue such a certificate only if

 the movant has made a substantial showing of the denial of a constitutional right, that

 is, that reasonable jurists would find debatable whether the district court correctly

 resolved the issues or would conclude that those issues deserve further proceedings. 28


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 U.S.C. § 2255; 28 U.S.C. § 2253(c)(2); Miller-El v. Cockrell, 537 U.S. 322, 337-38 (2003). The

 court thoroughly discussed the controlling case law on the issue at hand and finds that

 the conditions for the issuance of a certificate of appealability are not present in this

 case. Therefore, no certificate will issue.

 III.   CONCLUSION

        For the foregoing reasons, the court:

        (1)    DENIES Gregory Joshua Smith’s motion to vacate under 28 U.S.C. § 2255
                (DE # 225);

        (2)    DENIES Gregory Joshua Smith’s motion for appointment of counsel
               (DE # 227);

        (3)    DENIES Gregory Joshua Smith’s “Motion to Compel Defense Counsel to
               Surrender the Case Fire in the Above Styled Action to the Defendant of
               this Case” (DE # 234); and

        (4)    DENIES Gregory Joshua Smith a certificate of appealability.


                                               SO ORDERED.

        Date: October 24, 2023
                                               s/James T. Moody
                                               JUDGE JAMES T. MOODY
                                               UNITED STATES DISTRICT COURT




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